Case 1:04-cr-10lOl-.]DT Document 17 Filed 05/09/05 Page 1 of 2 Page|D 17

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IN THE UNrrED sTArEs DISTRICT COURT ”""/’ ~9 05

FOR THE WESTERN DISTRICT 0F TENNESSEE ".»0 '°)‘r 4‘_

EASTERN DrvlsloN ;~;Q:;»/;f`/‘r’/‘,q 0 _ 06
iv O,@O’CUS // 901/w
UNITED sTATEs 0F AMERICA ' 430/v ‘
vs cR No. 1:04-cR-10101-01-T
TrMoTHY UNDRAE JOHNSON
.(MQE_QI;I_AN@..Q.E_RL_EA

This cause came on to be heard on May 9, 2005, Assistant U. S. Attomey,
J ames W. Powell, appearing for the government, and the defendant appeared in person and with
counsel, M. Dianne Smothers, who Was appointed

With leave of the Court, the defendant withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in One (1) Count Indictment.

This case has been set for sentencing on FRIDAY AUGUST 5 2005 at 8:45 A.M.

 

The defendant is remanded to the custody of the United States Marshal.

CMb-M

rings D. TODD
UN ED sTATEs DISTRICT JUDGE

DATE: q/VM»(} 30'5{

IT IS SO ORDERED.

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UNITED sTATE DISTRIC COURT - WE TRNE D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case l:04-CR-10101 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed

 

 

M. Dianne Smothers

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Honorable J ames Todd
US DISTRICT COURT

